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                               UNITED STATES DISTRICT COURT
                                  DISTRICT OF DELAWARE

 MICHAEL KENT, Individually and On                   )
 Behalf of All Others Similarly Situated,            )
                                                     )
                         Plaintiff,                  )   Case No. ______________
                                                     )
         v.                                          )   JURY TRIAL DEMANDED
                                                     )
 CONTINENTAL BUILDING PRODUCTS,                      )   CLASS ACTION
 INC., EDWARD BOSOWSKI, JAMES                        )
 BACHMANN, MICHAEL KEOUGH,                           )
 MICHAEL O. MOORE, IRA S.                            )
 STRASSBERG, JACK SWEENY, and                        )
 CHANTAL VEEVAETE,                                   )
                                                     )
                         Defendants.                 )

  COMPLAINT FOR VIOLATION OF THE SECURITIES EXCHANGE ACT OF 1934

       Plaintiff, by his undersigned attorneys, for this complaint against defendants, alleges upon

personal knowledge with respect to himself, and upon information and belief based upon, inter

alia, the investigation of counsel as to all other allegations herein, as follows:

                                      NATURE OF THE ACTION

       1.      This action stems from a proposed transaction announced on November 12, 2019

(the “Proposed Transaction”), pursuant to which Continental Building Products, Inc. (“Continental

Building Products” or the “Company”) will be acquired by CertainTeed Gypsum and Ceilings

USA, Inc. (“Parent”) and Cupertino Merger Sub, Inc. (“Merger Sub”).

       2.      On November 12, 2019, Continental Building Products’ Board of Directors (the

“Board” or “Individual Defendants”) caused the Company to enter into an agreement and plan of

merger (the “Merger Agreement”) with Parent, Merger Sub, and Compagnie de Saint-Gobain S.A.

(collectively, “CertainTeed”). Pursuant to the terms of the Merger Agreement, Continental

Building Products’ stockholders will receive $37.00 in cash for each share of Continental Building
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Products common stock they own.

       3.      On December 11, 2019, defendants filed a proxy statement (the “Proxy Statement”)

with the United States Securities and Exchange Commission (the “SEC”) in connection with the

Proposed Transaction.

       4.      The Proxy Statement omits material information with respect to the Proposed

Transaction, which renders the Proxy Statement false and misleading. Accordingly, plaintiff

alleges herein that defendants violated Sections 14(a) and 20(a) of the Securities Exchange Act of

1934 (the “1934 Act”) in connection with the Proxy Statement.

                                 JURISDICTION AND VENUE

       5.      This Court has jurisdiction over the claims asserted herein pursuant to Section 27

of the 1934 Act because the claims asserted herein arise under Sections 14(a) and 20(a) of the 1934

Act and Rule 14a-9.

       6.      This Court has jurisdiction over defendants because each defendant is either a

corporation that conducts business in and maintains operations within this District, or is an

individual with sufficient minimum contacts with this District so as to make the exercise of

jurisdiction by this Court permissible under traditional notions of fair play and substantial justice.

       7.      Venue is proper under 28 U.S.C. § 1391(b) because a substantial portion of the

transactions and wrongs complained of herein occurred in this District.

                                             PARTIES

       8.      Plaintiff is, and has been continuously throughout all times relevant hereto, the

owner of Continental Building Products common stock.

       9.      Defendant Continental Building Products is a Delaware corporation and maintains

its principal executive offices at 12950 Worldgate Drive, Suite 700, Herndon, Virginia 20170.




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Continental Building Products’ common stock is traded on the New York Stock Exchange under

the ticker symbol “CBPX.”

       10.     Defendant Edward Bosowski is Chairman of the Board of the Company.

       11.     Defendant James Bachmann is Chief Executive Officer, President, and a director

of the Company.

       12.     Defendant Michael Keough is a director of the Company.

       13.     Defendant Michael O. Moore is a director of the Company.

       14.     Defendant Ira S. Strassberg is a director of the Company.

       15.     Defendant Jack Sweeny is a director of the Company.

       16.     Defendant Chantal Veevaete is a director of the Company.

       17.     The defendants identified in paragraphs 10 through 16 are collectively referred to

herein as the “Individual Defendants.”

                              CLASS ACTION ALLEGATIONS

       18.     Plaintiff brings this action as a class action on behalf of himself and the other public

stockholders of Continental Building Products (the “Class”). Excluded from the Class are

defendants herein and any person, firm, trust, corporation, or other entity related to or affiliated

with any defendant.

       19.     This action is properly maintainable as a class action.

       20.     The Class is so numerous that joinder of all members is impracticable. As of

November 8, 2019, there were approximately 44,533,125 shares of Continental Building Products

common stock outstanding, held by hundreds, if not thousands, of individuals and entities scattered

throughout the country.




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        21.     Questions of law and fact are common to the Class, including, among others,

whether defendants will irreparably harm plaintiff and the other members of the Class if

defendants’ conduct complained of herein continues.

        22.     Plaintiff is committed to prosecuting this action and has retained competent counsel

experienced in litigation of this nature. Plaintiff’s claims are typical of the claims of the other

members of the Class and plaintiff has the same interests as the other members of the Class.

Accordingly, plaintiff is an adequate representative of the Class and will fairly and adequately

protect the interests of the Class.

        23.     The prosecution of separate actions by individual members of the Class would

create the risk of inconsistent or varying adjudications that would establish incompatible standards

of conduct for defendants, or adjudications that would, as a practical matter, be dispositive of the

interests of individual members of the Class who are not parties to the adjudications or would

substantially impair or impede those non-party Class members’ ability to protect their interests.

        24.     Defendants have acted, or refused to act, on grounds generally applicable to the

Class as a whole, and are causing injury to the entire Class. Therefore, final injunctive relief on

behalf of the Class is appropriate.

                                SUBSTANTIVE ALLEGATIONS

Background of the Company and the Proposed Transaction

        25.     Continental Building Products is a leading North American manufacturer of

gypsum wallboard and complementary finishing products.

        26.     The Company is headquartered in Herndon, Virginia with operations serving the

residential, commercial, and repair and remodel construction markets primarily in the eastern

United States and eastern Canada.




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       27.     On November 12, 2019, Continental Building Products’ Board caused the

Company to enter into the Merger Agreement with CertainTeed.

       28.     Pursuant to the terms of the Merger Agreement, Continental Building Products’

stockholders will receive $37.00 in cash for each share of Continental Building Products common

stock they own.

       29.     According to the press release announcing the Proposed Transaction:

       Continental Building Products, Inc. (NYSE: CBPX) (the “Company”), a leading
       manufacturer of gypsum wallboard and complementary finishing products,
       announced today results for the third quarter ended September 30, 2019. The
       Company also announced that it has entered into a definitive agreement pursuant
       to which it will be acquired by Compagnie de Saint-Gobain S.A. (“Saint-Gobain”)
       (PAR: SGO) for $37.00 per share in cash. . . .

       Details of Saint-Gobain Acquisition

       The Company has signed a definitive merger agreement to be acquired by Saint-
       Gobain, a worldwide manufacturer and distributor of high performance materials
       and solutions in the building, transportation, infrastructure and industry markets, in
       a transaction representing an enterprise value of approximately $1.4 billion. The
       purchase price represents a premium of approximately 34.4% over Continental
       Building Product’s volume weighted average share price during the 60 days ended
       November 11, 2019. . . .

       Under the terms of the agreement, the Company will be merged with and into a
       newly-formed subsidiary of Saint-Gobain and each issued and outstanding share of
       the Company’s common stock will be converted into the right to receive $37.00 per
       share in cash.

       The transaction has been unanimously approved by the Company’s Board of
       Directors. The transaction is subject to customary closing conditions, including
       approval by Continental stockholders and required antitrust approvals.

       Citi is serving as exclusive financial advisor and Gibson, Dunn & Crutcher LLP is
       serving as legal counsel to Continental Building Products.

The Proxy Statement Omits Material Information, Rendering It False and Misleading

       30.     Defendants filed the Proxy Statement with the SEC in connection with the Proposed

Transaction.



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       31.     As set forth below, the Proxy Statement omits material information with respect to

the Proposed Transaction, which renders the Proxy Statement false and misleading.

       32.     First, the Proxy Statement omits material information regarding the Company’s

financial projections.

       33.     The Proxy Statement fails to disclose: (i) all line items used to calculate (a)

Adjusted EBITDA and (b) Unlevered Free Cash Flow; and (ii) a reconciliation of all non-GAAP

to GAAP metrics.

       34.     The disclosure of projected financial information is material because it provides

stockholders with a basis to project the future financial performance of a company, and allows

stockholders to better understand the financial analyses performed by the company’s financial

advisor in support of its fairness opinion.

       35.     Second, the Proxy Statement omits material information regarding the analyses

performed by the Company’s financial advisor in connection with the Proposed Transaction,

Citigroup Global Markets Inc. (“Citi”).

       36.     With respect to Citi’s Comparable Companies Analysis, the Proxy Statement fails

to disclose the individual multiples and metrics for the companies observed by Citi in the analysis.

       37.     With respect to Citi’s Precedent Transactions Analysis, the Proxy Statement fails

to disclose the individual multiples and metrics for the transactions observed by Citi in the analysis.

       38.     With respect to Citi’s Discounted Cash Flow Analysis, the Proxy Statement fails to

disclose: (i) all line items used to calculate unlevered free cash flow; (ii) the terminal values for

the Company; (iii) Citi’s basis for applying a selected range of perpetuity growth rates of 1.5% to

2.5%; (iv) the individual inputs and assumptions underlying the discount rates ranging from 7.7%

to 9.0%; and (v) the Company’s fully diluted share count.




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        39.     With respect to Citi’s analysis of share price targets, the Proxy Statement fails to

disclose: (i) the price targets observed by Citi in the analysis; and (ii) the sources thereof.

        40.     With respect to Citi’s analysis of premiums paid, the Proxy Statement fails to

disclose: (i) the transactions observed by Citi in the analysis; and (ii) the premiums paid in the

transactions.

        41.     When a banker’s endorsement of the fairness of a transaction is touted to

shareholders, the valuation methods used to arrive at that opinion as well as the key inputs and

range of ultimate values generated by those analyses must also be fairly disclosed.

        42.     The omission of the above-referenced material information renders the Proxy

Statement false and misleading, including, inter alia, the following sections of the Proxy

Statement: (i) Background of the Merger; (ii) Recommendation of the Company Board; (iii)

Opinion of Financial Advisor to the Company; and (iv) Certain Company Forecasts.

        43.     The above-referenced omitted information, if disclosed, would significantly alter

the total mix of information available to the Company’s stockholders.

                                               COUNT I

      Claim for Violation of Section 14(a) of the 1934 Act and Rule 14a-9 Promulgated
     Thereunder Against the Individual Defendants and Continental Building Products

        44.     Plaintiff repeats and realleges the preceding allegations as if fully set forth herein.

        45.     The Individual Defendants disseminated the false and misleading Proxy Statement,

which contained statements that, in violation of Section 14(a) of the 1934 Act and Rule 14a-9, in

light of the circumstances under which they were made, omitted to state material facts necessary

to make the statements therein not materially false or misleading. Continental Building Products

is liable as the issuer of these statements.




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       46.     The Proxy Statement was prepared, reviewed, and/or disseminated by the

Individual Defendants. By virtue of their positions within the Company, the Individual Defendants

were aware of this information and their duty to disclose this information in the Proxy Statement.

       47.     The Individual Defendants were at least negligent in filing the Proxy Statement

with these materially false and misleading statements.

       48.     The omissions and false and misleading statements in the Proxy Statement are

material in that a reasonable stockholder will consider them important in deciding how to vote on

the Proposed Transaction. In addition, a reasonable investor will view a full and accurate

disclosure as significantly altering the total mix of information made available in the Proxy

Statement and in other information reasonably available to stockholders.

       49.     The Proxy Statement is an essential link in causing plaintiff and the Company’s

stockholders to approve the Proposed Transaction.

       50.     By reason of the foregoing, defendants violated Section 14(a) of the 1934 Act and

Rule 14a-9 promulgated thereunder.

       51.     Because of the false and misleading statements in the Proxy Statement, plaintiff

and the Class are threatened with irreparable harm.

                                            COUNT II

                     Claim for Violation of Section 20(a) of the 1934 Act
                             Against the Individual Defendants

       52.     Plaintiff repeats and realleges the preceding allegations as if fully set forth herein.

       53.     The Individual Defendants acted as controlling persons of Continental Building

Products within the meaning of Section 20(a) of the 1934 Act as alleged herein. By virtue of their

positions as officers and/or directors of Continental Building Products and participation in and/or

awareness of the Company’s operations and/or intimate knowledge of the false statements



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contained in the Proxy Statement, they had the power to influence and control and did influence

and control, directly or indirectly, the decision making of the Company, including the content and

dissemination of the various statements that plaintiff contends are false and misleading.

        54.    Each of the Individual Defendants was provided with or had unlimited access to

copies of the Proxy Statement alleged by plaintiff to be misleading prior to and/or shortly after

these statements were issued and had the ability to prevent the issuance of the statements or cause

them to be corrected.

        55.    In particular, each of the Individual Defendants had direct and supervisory

involvement in the day-to-day operations of the Company, and, therefore, is presumed to have had

the power to control and influence the particular transactions giving rise to the violations as alleged

herein, and exercised the same. The Proxy Statement contains the unanimous recommendation of

the Individual Defendants to approve the Proposed Transaction. They were thus directly involved

in the making of the Proxy Statement.

        56.    By virtue of the foregoing, the Individual Defendants violated Section 20(a) of the

1934 Act.

        57.    As set forth above, the Individual Defendants had the ability to exercise control

over and did control a person or persons who have each violated Section 14(a) of the 1934 Act and

Rule 14a-9, by their acts and omissions as alleged herein. By virtue of their positions as controlling

persons, these defendants are liable pursuant to Section 20(a) of the 1934 Act. As a direct and

proximate result of defendants’ conduct, plaintiff and the Class are threatened with irreparable

harm.




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                                     PRAYER FOR RELIEF

       WHEREFORE, plaintiff prays for judgment and relief as follows:

       A.      Preliminarily and permanently enjoining defendants and all persons acting in

concert with them from proceeding with, consummating, or closing the Proposed Transaction;

       B.      In the event defendants consummate the Proposed Transaction, rescinding it and

setting it aside or awarding rescissory damages;

       C.      Directing the Individual Defendants to disseminate a Proxy Statement that does not

contain any untrue statements of material fact and that states all material facts required in it or

necessary to make the statements contained therein not misleading;

       D.      Declaring that defendants violated Sections 14(a) and/or 20(a) of the 1934 Act, as

well as Rule 14a-9 promulgated thereunder;

       E.      Awarding plaintiff the costs of this action, including reasonable allowance for

plaintiff’s attorneys’ and experts’ fees; and

       F.      Granting such other and further relief as this Court may deem just and proper.

                                         JURY DEMAND

       Plaintiff hereby requests a trial by jury on all issues so triable.

 Dated: December 19, 2019                            RIGRODSKY & LONG, P.A.

                                                By: /s/ Gina M. Serra
                                                    Brian D. Long (#4347)
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